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              [NOT SCHEDULED FOR ORAL ARGUMENT]

             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES STEEL
 CORPORATION, et al.,

                      Petitioners,                           No. 25-1004

                 v.

COMMITTEE ON FOREIGN
  INVESTMENT IN THE UNITED
  STATES, et al.,

                  Respondents.




      CONSENT MOTION TO MAINTAIN CASE IN ABEYANCE

      Pursuant to Federal Rule of Appellate Procedure 27 and this Court’s

order dated April 11, 2025, the government respectfully moves to further hold

this case in abeyance until June 13, 2025, in light of the ongoing discussions

between the parties described below. Petitioners consent to this motion. In

support of this motion, the government states the following:

      1. This petition for review, filed under 50 U.S.C. § 4565(e)(2), seeks

review of the Presidential Order Regarding the Proposed Acquisition of

United States Steel Corporation by Nippon Steel Corporation, 90 Fed. Reg.
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2605 (Jan. 3, 2025), and the related referral to then-President Biden by the

Committee on Foreign Investment in the United States (CFIUS). That order

prohibits the proposed acquisition of U.S. Steel by Nippon Steel Corporation

and Nippon Steel North America. See id. § 2. The order also reserves the

President’s “authority to issue further orders with respect to the Purchasers or

U.S. Steel as shall,” in the President’s judgment, “be necessary to protect the

national security of the United States.” Id. § 3.

       On April 6, 2025, President Trump, acting pursuant to that reservation

of authority, issued a Presidential Memorandum that directed CFIUS “to

conduct a review of the acquisition of U.S. Steel by the Purchasers to assist”

the President “in determining whether further action in this matter may be

appropriate.” Presidential Memorandum Regarding the Review of Proposed

United States Steel Corporation Acquisition § 1(a) (Apr. 6, 2025). The

memorandum also directed CFIUS to “submit a recommendation” to the

President “within 45 days”—i.e., by May 21, 2025—that described “whether

any measures proposed by the parties are sufficient to mitigate any national

security risks identified by CFIUS” and that “include[d] a statement describing

each member agency’s position, including the reasons for such position.” Id.

§ 2.

       Pursuant to the memorandum, CFIUS submitted a recommendation to
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President Trump on May 21, 2025. Since that time, petitioners and the United

States Government have continued to work to reach a resolution that would

obviate the need for this Court’s consideration of the merits of this action.

      2. Petitioners filed their opening brief on February 3, 2025, generally

contending that President Biden’s order prohibiting the proposed acquisition

violated petitioners’ due process rights and was ultra vires, and that CFIUS’s

referral to the President violated petitioners’ due process rights and the APA’s

requirements. See Opening Br. 9-10.

      Following President Trump’s memorandum, the Court placed this case

in abeyance for 60 days and directed the parties to file motions to govern

further proceedings by June 5, 2025. As a result, there are no currently

scheduled dates for next steps in the litigation.

      In light of the foregoing, the government respectfully requests that this

case be held in abeyance for an additional eight days, and that the parties be

directed to provide a further update to this Court on June 13, 2025, if the

action has not been voluntarily dismissed by that date. A continued abeyance is

warranted given the developments detailed above and the ongoing efforts to

reach a resolution that would fully resolve petitioners’ claims. Continuing to

hold this case in abeyance through June 13, 2025, will therefore best preserve

the resources of the parties and the Court.
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      3. Counsel for petitioners have informed the government that petitioners

consent to this motion.

                                           Respectfully submitted,

                                           YAAKOV M. ROTH
                                            Acting Assistant Attorney General

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                                            /s/ Sharon Swingle
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JUNE 5, 2025




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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2) because it contains 555 words, according

to the count of Microsoft Word.


                                            /s/ Sharon Swingle
                                           Sharon Swingle




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